                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


LOUISIANA PACIFIC CORPORATION      )
and LOUISIANA-PACIFIC              )
CANADA LTD.,                       )
                                   )
            Plaintiffs,            )
                                   )
     v.                            )            1:12CV625
                                   )
AKZO NOBEL COATINGS, INC.,         )
AKZO NOBEL COATINGS, LTD, and      )
JOHN DOES 1-10,                    )
                                   )
            Defendants.            )


                     MEMORANDUM OPINION AND ORDER

     This matter comes before the Court on Plaintiffs’ Motion to

Exchange Exhibit F to Raiter Affidavit with Redacted Version

(Docket Entry 48).    (See Docket Entry dated Jan. 22, 2013.)          For

the reasons that follow, the Court will grant the instant Motion.

                              BACKGROUND

     In connection with Plaintiffs’ Memorandum in Opposition to

Defendant Akzo Nobel Coatings Ltd’s Motion to Dismiss for Lack of

Personal Jurisdiction (Docket Entry 33), Plaintiffs filed the

Affidavit of Shawn M. Raiter (Docket Entry 36), along with which

they filed a number of exhibits under seal (Docket Entry 37).          The

Court, by Order of the undersigned, directed Plaintiffs to file a

motion and supporting brief justifying continued sealing of those

exhibits.    (See Text Order dated Jan. 12, 2013.)       By way of the

instant Motion, Plaintiffs assert that, after conferring with

counsel for Defendants, the Parties “do not object to lifting the

seal on all of the exhibits, but Defendants requested that a

redacted version of Exhibit F to the Raiter Affidavit be exchanged




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for the currently unredacted version of that document.”                      (Docket

Entry 48, ¶ 3.)      In support of that request, Plaintiffs offer that

“Defendants believe that the unredacted information in Exhibit F is

commercially sensitive and involves trade secrets” and that “the

public release of this information could harm their competitive

standing.”    (Id., ¶ 4.)      Plaintiffs have filed a proposed redacted

version of Exhibit F for the Court’s review.                 (See Docket Entry 49-

1.)

                                  DISCUSSION

      The United States Court of Appeals for the Fourth Circuit has

recognized    that    “there    may   be    instances        in     which   discovery

materials should be kept under seal even after they are made part

of a dispostiive motion.”         Rushford v. The New Yorker Magazine,

Inc.,   846   F.2d   249,   253   (4th     Cir.    1988).         However,    “[w]hen

presented with a request to seal judicial records or documents, a

district court must comply with certain substantive and procedural

requirements.”       Virginia Dep’t of State Police v. The Washington

Post, 386 F.3d 567, 576 (4th Cir. 2004).                Procedurally:

      [The district court] must give the public notice of the
      request to seal and a reasonable opportunity to challenge
      the request; it must consider less drastic alternatives
      to sealing; and if it decides to seal it must state the
      reasons (and specific supporting findings) for its
      decision and the reasons for rejecting alternatives to
      sealing. Adherence to this procedure serves to ensure
      that the decision to seal materials will not be made
      lightly and that it will be subject to meaningful
      appellate review.

Id. (internal     citation     omitted).          “As   to    the    substance,   the

district court first must determine the source of the right of


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access with respect to each document, because only then can it

accurately weigh the competing interests at stake.”         Id. (internal

citations and quotation marks omitted).

     Moreover, the Fourth Circuit has recognized that the legal

framework   for   sealing   documents,    described   above,      applies   to

determine whether a party may file a redacted document, i.e., a

document sealed in part.         See United States v. Moussaoui, 65 F.

App’x 881, 889 (4th Cir. 2003) (“As to those documents subject to

a right of access, we must then conduct the appropriate balancing

to determine whether the remainder of the document should remain

sealed, in whole or in part.”).      Thus, courts in the Fourth Circuit

apply this legal framework for sealing where a party moves to file

a redacted document.        See, e.g., Silicon Knights, Inc. v. Epic

Games, Inc., No. 5:07-CV-275-D, 2011 WL 902256, at *1-3 (E.D.N.C.

Mar. 15, 2011) (unpublished) (granting parties’ motions to seal

documents or portions thereof containing alleged trade secrets);

Wolfe v. Green, Civil Action No. 2:08-01023, 2010 WL 5175165, at

*2-3 (S.D. W. Va. Dec. 15, 2010) (unpublished) (granting parties’

joint motion to redact filings and holding that parties made

necessary showing to address both common law and First Amendment

rights of access); Bethesda Softworks, LLC v. Interplay Entm’t

Corp., Civil Action No. DKC 09-2357, 2010 WL 3781660, at *9-10 (D.

Md. Sept. 23, 2010) (unpublished) (treating plaintiff’s motion to

redact transcript as motion to seal).

     Initially,    the   Court    observes   that   its   Order    requiring

Plaintiffs to justify sealing the exhibits at issue has been

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publicly docketed since January 12, 2013, thereby “giv[ing] the

public notice of a request to seal and a reasonable opportunity to

challenge it,” Stone v. University of Md. Med. Sys., 855 F.2d 178,

181 (4th Cir. 1988) (discussing use of docketing to comply with

procedural requirements for sealing). Any interested party has had

the ability to seek intervention to contest any sealing order, but

no one has taken such action (see Docket Entries dated Jan. 12,

2013, to present).        Accordingly, the Court concludes that, as to

the sealing request at issue, the “public notice” prerequisite to

entry of a sealing order has been satisfied.         See Stone, 855 F.2d

at 181.

     Next, the Court must determine what, if any, public access

right attaches to the material the Parties seek to redact.              See

Virginia Dep’t of State Police, 386 F.3d at 576.       The more rigorous

First     Amendment     standard   applies   to   documents   related   to

dispositive motions.       See Rushford, 846 F.2d at 252-53 (“Once the

documents are made part of a dispositive motion . . . they lose

their status of being raw fruits of discovery. . . .           We believe

that the more rigorous First Amendment standard should also apply

to documents filed in connection with a [dispositive motion] in a

civil case.”).        Plaintiffs’ exhibit to the affidavit of Shawn M.

Raiter thus falls subject to the right of access granted by the

First Amendment because of its filing in connection with a motion

to dismiss.




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     Given that conclusion, the Court must balance that First

Amendment access right against the competing interests identified.

In that regard, the Fourth Circuit has recognized that:

     One exception to the public’s right of access is where
     such access to judicial records could provide a “source[]
     of business information that might harm a litigant’s
     competitive standing.”

Woven Elecs. Corp. v. Advanced Grp., Inc., Nos. 89-1580, 89-1588,

1991 WL 54118, at *6 (4th Cir. Apr. 15, 1991) (unpublished)

(bracket in original) (quoting Nixon v. Warner Commc’ns, Inc., 435

U.S. 589, 598 (1978)).      Because the interests identified in the

instant matter involve sensitive business information, the balance

in this case warrants redaction.           The Court further finds the

limited redactions proposed are narrowly tailored to maintain the

secrecy of only sensitive business information.

                                CONCLUSION

     The public has had sufficient time to intervene to oppose any

sealing   of   the   material   in   question.   Moreover,   Defendants’

interest in protecting its sensitive business information overcomes

the public’s First Amendment right to access that material and the

proposed redaction represents a narrowly tailored response to the

situation.

     IT IS THEREFORE ORDERED that Plaintiffs’ Motion to Exchange

Exhibit F to Raiter Affidavit with Redacted Version is GRANTED.




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     IT IS FURTHER ORDERED that Plaintiffs shall publicly re-file

all exhibits to the Raiter Affidavit previously filed under seal,

including a redacted version of Exhibit F, by January 30, 2013.



                                 /s/ L. Patrick Auld
                                     L. Patrick Auld
                              United States Magistrate Judge

January 23, 2013




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